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U.S. Department of Justice FI LED

Matthew M. Graves OCT 23 2022

United States Attorney Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia

 

District of Columbia

 

Judiciary Center
555 Fourth St, NAW,
Washington, D.C, 20530

   

September 6, 20
Ubong Akpan, Esq.

Re: United States v. Mikeale Frazier

Criminal Case No. Zama “Cte [7E
Dear Ms, Akpan:

This letter sets forth the full and complete plea offer to your client, Mikeale Frazier
(hereinafter referred to as “your client” or “defendant’), from the Office of the United States
Attorney for the District of Columbia (hereinafter referred to as “the Government” or “the Office’).
This plea offer expires on September 30, 2022. If your client accepts the terms and conditions of
this offer, please have your client execute this document in the space provided below. Upon receipt
of the executed document, this letter will become the Plea Agreement (hereinafter “this
Agreement”). The terms of the offer are as follows:

L; Charges and Statutory Penalties

Your client agrees to plead guilty to the charges detailed below and your client understands
that, by doing so, he will resolve all of the charges pending in the U.S. District Court for the District
of Columbia.

Your client will plead guilty to Count One of the Superseding Information in this matter
in the U.S. District Court for the District of Columbia, charging your client with First Degree
Child Sexual Abuse in violation of 22 D.C. Code § 3008.

Your client further understands that a violation of 22 D.C. Code § 3008, carries a
maximum sentence of 30 years’ incarceration.

In addition, your client agrees to pay a special assessment of $100 per felony conviction to
the Clerk of the U.S. District Court for the District of Columbia. Your client also understands that,
pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing Commission, Guidelines
Manual (2018) (hereinafter “Sentencing Guidelines,” “Guidelines,” or “U.S.S.G.”), the Court may
also impose a fine that is sufficient to pay the federal government the costs of any imprisonment,
term of supervised release, and period of probation. Further, your client understands that, if your

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client has two or more convictions for a crime of violence or felony drug offense, your client may
be subject to the substantially higher penalties provided for in the career-offender statutes and
provisions of the Sentencing Guidelines.

This agreement encompasses the promises made by this Office.

2. Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and’accurately
describes your client’s actions and involvement in the offenses to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

3. Additional Charges

In consideration of your client’s guilty plea to the above offenses, your client will not be
further prosecuted criminally by these Offices for the conduct set forth in the attached Statement
of Offense.

After the entry of your client’s plea of guilty to the offense(s) identified in Paragraph 1
above, your client will not be charged with any non-violent criminal offense in violation of Federal
or District of Columbia law which was committed within the District of Columbia by your client
prior to the execution of this Agreement and about which this Office was made aware by your
client prior to the execution of this Agreement. However, the United States Attorney’s Office for
the District of Columbia expressly reserves its right to prosecute your client for any crime of
violence, as defined in 18 U.S.C. § 16 and/or 22 D.C. Code § 4501, if in fact your client committed
or commits such a crime of violence prior to or after the execution of this Agreement.

4, Sentencing Guidelines Analysis

Your client understands that the sentence in this case would be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the Sentencing
Guidelines and policies promulgated by the Sentencing Commission. Your client further
understands that, with respect to his plea of guilty to First Degree Child Sexual Abuse in violation
of 22 D.C. Code § 3008, your client’s sentence would be determined by the Court pursuant to the
District of Columbia’s Voluntary Sentencing Guidelines, which places this charge in Group 3.
Pursuant to Federal Rule of Criminal Procedure 1 1(c)(1)(B), and to assist the Court in determining
the appropriate sentence, the parties agree to the following:

A. Estimated Criminal History Category

Based upon the information now available to this Office, your client has the following
convictions:

e 2019-CCC-76: One count of Contempt of CPO (60 day suspended sentence)
2019-CCC-77: One count of Contempt of CPO (60 day suspended sentence)

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e 2019-DVM-985: Simple Assault and Destruction of Property (180 day suspended
sentence)
2018-CF2-6563: Robbery (24 month sentence with 18 months suspended)
2017-DVM-325: Simple Assault and Attempted Threats (180 day sentence with 150 days
suspended)
2016-DVM-1879: Simple Assault (90 day suspended sentence)
58012EX: Possession of marijuana in Columbia, SC (30 days incarceration)

Your client was under the supervision of probation at the time he committed the offenses
outlined in the Statement of Offense.

Your client acknowledges that after the pre-sentence investigation by the United States
Probation Office, a different conclusion regarding your client’s criminal convictions and/or
criminal history points may be reached and your client’s criminal history points may increase or
decrease.

B. Estimated Guidelines Range

For your client’s plea of guilty to First Degree Child Sexual Abuse, in violation of 22
D.C. Code § 3008, applying the District of Columbia Voluntary Sentencing Guidelines, your
client has three criminal history points, putting him in a Criminal History Score of “C.”
Accordingly, the estimated guidelines range for this offense is 114-204 months’ imprisonment.

The parties agree that, solely for the purposes of calculating the applicable range under the
Sentencing Guidelines, neither a downward nor upward departure from the Estimated Guidelines
Range set forth above is warranted. The parties are free to argue for a Criminal History Category
different from that estimated above in subsection A.

Your client understands and acknowledges that the Estimated Guidelines Range calculated
above is not binding on the Probation Office or the Court. Should the Court or Probation Office
determine that a guidelines range different from the Estimated Guidelines Range is applicable, that
will not be a basis for withdrawal or recission of this Agreement by either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

5. Agreement as to Sentencing Allocution

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The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all the factors set forth in 18 U.S.C. § 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.
Nevertheless, your client reserves the right to seek a sentence below the Estimated Guidelines
Range based upon factors to be considered in imposing a sentence pursuant to 18 U.S.C. § 3553(a).
The parties further agree that neither party will seek a sentence below the minimum sentence of
114 months in the Estimated Guidelines Range. The parties further agree that the government will
not seek a sentence above the midpoint of the guidelines range as determined by the Court.

6. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense(s)
authorizes the Court to impose any sentence, up to and including the statutory maximum sentence,
which may be greater than the applicable Guidelines range. The Government cannot, and does
not, make any promise or representation as to what sentence your client will receive. Moreover,
it is understood that your client will have no right to withdraw your client’s plea of guilty should
the Court impose a sentence that is outside the Guidelines range or if the Court does not follow the
Government’s sentencing recommendation. The Government and your client will be bound by
this Agreement, regardless of the sentence imposed by the Court. Any effort by your client to
withdraw the guilty plea because of the length of the sentence shall constitute a breach of this
Agreement.

7. Reservation of Allocution

' The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct, including
any misconduct not described in the charges to which your client is pleading guilty, to inform the
presentence report writer and the Court of any relevant facts, to dispute any factual inaccuracies
in the presentence report, and to contest any matters not provided for in this Agreement. The parties
also reserve the right to address the correctness of any Sentencing Guidelines calculations
determined by the presentence report writer or the court, even if those calculations differ from the
Estimated Guidelines Range calculated herein. In the event that the Court or the presentence report
writer considers any Sentencing Guidelines adjustments, departures, or calculations different from
those agreed to and/or estimated in this Agreement, or contemplates a sentence outside the
Guidelines range based upon the general sentencing factors listed in 18 U.S.C. § 3553(a), the
parties reserve the right to answer any related inquiries from the Court or the presentence report
writer and to allocute for a sentence within the Guidelines range, as ultimately determined by the

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Court, even if the Guidelines range ultimately determined by the Court is different from the
Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of allocution
in connection with any post-sentence motion which may be filed in this matter and/or any
proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

8. Conditions of Release

Your client agrees not to object to the Government’s recommendation to the Court at the
time of the plea of guilty in this case that your client be detained without bond pending your client’s
sentencing in this case, pursuant to 18 U.S.C. § 3143.

9. Waivers
A. Venue

Your client waives any challenge to venue in the District of Columbia.
B. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the Government
has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement) may be
commenced or reinstated against your client, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement or reinstatement of such
prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of Offense
that is not time-barred on the date that this Agreement is signed.

C. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-examine

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witnesses against your client, to challenge the admissibility of evidence offered against your client,
to compel witnesses to appear for the purpose of testifying and presenting other evidence on your
client’s behalf, and to choose whether to testify. If there were a jury trial and your client chose not
to testify at that trial, your client would have the right to have the jury instructed that your client’s
failure to testify could not be held against your client. Your client would further have the right to
have the jury instructed that your client is presumed innocent until proven guilty, and that the
burden would be on the United States to prove your client’s guilt beyond a reasonable doubt. If
your client were found guilty after a trial, your client would have the right to appeal your client’s
conviction. Your client understands that the Fifth Amendment to the Constitution of the United
States protects your client from the use of self-incriminating statements in a criminal prosecution.
By entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

Your client acknowledges discussing with you Rule 1 1(f) of the Federal Rules of Criminal
Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the admissibility
of statements made by a defendant in the course of plea discussions or plea proceedings if a guilty
plea is later withdrawn. Your client knowingly and voluntarily waives the rights that arise under
these rules in the event your client withdraws your client’s guilty plea or withdraws from this
Agreement after signing it, except where the Court rejects this Agreement under Rule 11(c)(5).

Your client also agrees to waive all constitutional and statutory rights to a speedy sentence
and agrees that the plea of guilty pursuant to this Agreement will be entered at a time decided upon
by the parties with the concurrence of the Court. Your client understands that the date for
sentencing will be set by the Court.

D. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to appeal
the conviction in this case on any basis, including but not limited to claim(s) that (1) the statute(s)
to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct does not
fall within the scope of the statute(s). Your client understands that federal law, specifically 18
U.S.C. § 3742, affords defendants the right to appeal their sentences in certain circumstances.
Your client also agrees to waive the right to appeal the sentence in this case, including but not
limited to any term of imprisonment, fine, forfeiture, award of restitution, term or condition of
supervised release, authority of the Court to set conditions of release, and the manner in which the
sentence was determined, except to the extent the Court sentences your client above the statutory
maximum or guidelines range determined by the Court. In agreeing to this waiver, your client is
aware that your client’s sentence has yet to be determined by the Court. Realizing the uncertainty
in estimating what sentence the Court ultimately will impose, your client knowingly and willingly
waives your client’s right to appeal the sentence, to the extent noted above, in exchange for the
concessions made by the Government in this Agreement. Notwithstanding the above agreement
to waive the right to appeal the conviction and sentence, your client retains the right to appeal on
the basis of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
conviction or sentence.

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E. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective

assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C
§ 3582(c)(2). °

10. Use of Self-Incriminating Information

The Government and your client agree that the Government will be free to use against
your client for any purpose at the sentencing in this case or in any related criminal or civil
proceedings, any self-incriminating information provided by your client pursuant to this
Agreement or during the course of debriefings conducted in anticipation of this Agreement,
regardless of whether those debriefings were previously covered by an “off the record” agreement
by the parties.

11. Hearings by Video Teleconference and/or Teleconference

Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold any proceedings in this matter — specifically including but not limited to presentment, initial
appearance, plea hearing, and sentencing — by video teleconference and/or by teleconference and
to waive any rights to demand an in-person/in-Court hearing. Your client further agrees to not
challenge or contest any findings by the Court that it may properly proceed by video
teleconferencing and/or telephone conferencing in this case because, due to the COVID-19
pandemic, an in-person/in-Court hearing cannot be conducted in person without seriously
jeopardizing public health and safety and that further there are specific reasons in this case that
any such hearing, including a plea or sentencing hearing, cannot be further delayed without serious
harm to the interests of justice.

12. Sex Offender Registration

Your client further understands that with respect to your client’s plea of guilty to First
Degree Child Sexual Abuse, in violation of 22 D.C. Code § 3008, and pursuant to 22 D.C. Code §
4001(8)(D), your client is required to register as a sex offender for ten years.

13. DNA Testin

Your client acknowledges and has been made aware that there may be physical evidence
which was seized from the victim, crime scene or from your client or from some other source that
can be tied to your client and that could contain probative biological material. Your client
understands and agrees that in order to plead guilty in this case, he must waive and give up DNA

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testing in this case. Your client further understands that should your client waive and give up DNA

14, Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will have
breached this Agreement. In the event of such a breach: (a) the Government will be free from its
obligations under this Agreement; (b) your client will not have the right to withdraw the guilty
plea; (c) your client will be fully subject to criminal prosecution for any other crimes, including
perjury and obstruction of justice; and (d) the Government will be free to use against your client,
directly and indirectly, in any criminal or civil proceeding, all statements made by your client and
any of the information or materials provided by your client, including such statements, information
and materials provided pursuant to this Agreement or during the course of any debriefings
conducted in anticipation of, or after entry of, this Agreement, whether or not the debriefings were
previously characterized as “off-the-record” debriefings, and including your client’s statements
made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure.

Your client understands and agrees that the Government shall be required to prove a breach
of this Agreement only by a preponderance of the evidence, except where such breach is based on
a violation of federal, state, or local criminal law, which the Government need prove only by
probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from prosecution
for any crimes not included within this Agreement or committed by your client after the execution
of this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury, false
statements or declarations, or obstruction of justice relating to your client’s obligations under this
Agreement shall constitute a breach of this Agreement. In the event of such a breach, your client
will not be allowed to withdraw your client’s guilty plea.

15. Complete Agreement

No agreements, promises, understandings, or representations have been made by the parties
or their counsel other than those contained in writing herein, nor will any such agreements,
promises, understandings, or representations be made unless committed to writing and signed by
your client, defense counsel, and an Assistant United States Attorney for the District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal and
Superior Court Divisions of the United States Attorney’s Office for the District of Columbia. This
Agreement does not bind the Civil Division of these Offices or any other United States Attorney’s

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Office not specifically named above, nor does it bind any other state, local, or federal prosecutor.

It also does not bar or compromise any civil, tax, or administrative claim pending or that may be
made against your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
September 30, 2022.

Sincerely yours,

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Matthew M. Graves
United States Attorney
District of Columbia

By: _ Qanane Vysngar
Jafni J.lyengar7 7
Janani Iyengar

Assistant United States Attorney

 

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DEFENDANT’S ACCEPTANCE

| have read every page of this Agreement and have discussed it with my attorney, Ubong
Akpan. I fully understand this Agreement and agree to it without reservation. I do this
voluntarily and of my own free will, intending to be legally bound. No threats have been made
to me nor am I under the influence of anything that could impede my ability to understand this
Agreement fully. | am pleading guilty because I am in fact guilty of the offense(s) identified in
this Agreement.

| reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. | am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.

Datex 1k) pat 1022. WivenXt, Finivo

Mikeale Frazier
Defendant

ATTORNEY'S ACKNOWLEDGMENT
| have read every page of this Agreement, reviewed this Agreement with my client,
Mikeale Frazier, and fully discussed the provisions of this Agreement with my client. These

pages accurately and completely set forth the entire Agreement. I concur in my client’s desire to
plead guilty as set forth in this Agreement.

Date: /O/ Z5/ ZOzEC
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